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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 SONOS, INC.,                                 )
                                              )
                        Plaintiff,            )
                                              )       C.A. No. 24-131-JNR
                        v.                    )
                                              )
 LINKPLAY TECHNOLOGY INC. and                 )       JURY TRIAL DEMANDED
 LINKPLAY TECHNOLOGY, INC.,                   )
 NANJING,                                     )
                                              )
                        Defendants.           )


                             STIPULATED PROTECTIVE ORDER

          IT IS HEREBY STIPULATED AND AGREED, by and between the parties and their

respective undersigned counsel, that this Protective Order shall govern the disclosure, handling,

and use of documents, testimony, and any other information or items that are produced, given, or

otherwise exchanged amongst the parties and any non-parties throughout the duration of this

action.

          IT IS HEREBY ORDERED pursuant to Rule 26(c) of the Federal Rules of Civil Procedure

that the following Protective Order shall be adopted.




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1.        DEFINITIONS

          1.1   Challenging Party: a Party or Non-Party that challenges the designation of

information or items under this Protective Order.

          1.2   “CONFIDENTIAL” Information or Items: non-public information (regardless of

how it is generated, stored, or maintained) or items that contain or disclose information relating to

trade secrets or other confidential research, development, technical, financial, or commercial

information that a Party reasonably believes could cause harm to its business operations or provide

improper business or commercial advantage to another Party or Non-Party.

          1.3   Counsel (without qualifier): Outside Counsel of Record (as well as their support

staff).

          1.4   Designating Party: a Party or Non-Party that designates information or items that

it produces in disclosures or in responses to discovery as “CONFIDENTIAL” or “HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE

CODE.”

          1.5   Disclosures or Discovery Material: all information or items, regardless of the

medium or manner in which it is generated, stored, or maintained (including, among other things,

testimony, transcripts, and tangible things), that are produced or generated in disclosures or

responses to discovery in this action.

          1.6   Expert: a person with specialized knowledge or experience in a matter pertinent to

this action who (i) has been retained by a Party or its counsel to serve as an expert witness or as a

consultant in this action, (ii) is not a current employee of a Party or of a Party’s competitor, and

(iii) at the time of retention, is not anticipated to become an employee of a Party or of a Party’s

competitor.




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       1.7      Final Disposition: the later of (i) dismissal of all claims and defenses in this action,

with or without prejudice; and (ii) entry of a final judgment herein after the completion and

exhaustion of all appeals, rehearings, remands, trials, or reviews of this action, including the time

limits for filing any motions or applications for extension of time pursuant to applicable law.

       1.8      “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Information or

Items: extremely sensitive “CONFIDENTIAL” Information or Items, disclosure of which to

another Party or Non-Party would create a substantial risk of serious harm that could not be

avoided by less restrictive means. Such information or items may include, without limitation,

information concerning research, development and other activities related to products, designs,

trade secrets, or other highly-confidential research, development or joint development, technical,

financial, sales, customer, or commercial information.

       1.9     “HIGHLY CONFIDENTIAL – SOURCE CODE” Information or Items:

extremely-sensitive “CONFIDENTIAL” Information or Items that meets the definition of

“HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Information or Items and is

non-public computer source code or algorithms, which exhibits extremely-sensitive trade secret or

other confidential research or development, the disclosure of which to an unauthorized individual

could cause irreparable harm to the Producing Party. As used herein, “source code” means human-

readable computer instructions expressed in a form suitable for input to an assembler, compiler, or

other data processing module in native format. The designation of “HIGHLY CONFIDENTIAL –

SOURCE CODE” also applies to information or items, for example, technical design

documentation, that comprises, includes, or substantially discloses source code or algorithms.

       1.10     In-House Counsel: attorneys who are employees of a Party to this action. In-House

Counsel does not include Outside Counsel of Record.




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       1.11     Non-Party: any natural person, partnership, corporation, association, or other legal

entity not named as a Party to this action.

       1.12     Outside Counsel of Record: attorneys who are not employees of a Party to this

action but are retained to represent or advise a Party to this action and have appeared in this action

on behalf of that Party or are affiliated with a law firm that has appeared on behalf of that Party.

       1.13     Party: a party to this action.

       1.14     Producing Party: a Party or Non-Party that produces Disclosures or Discovery

Material in this action.

       1.15     Professional Vendors: third-party persons or entities that provide litigation support

services (e.g., photocopying, imaging, videotaping, translating, preparing exhibits or

demonstrations, and organizing, processing, storing, or retrieving data in any form or medium, and

professional jury or trial consultants) and their employees and subcontractors.

       1.16     Protected Material: any Disclosure or Discovery Material that is designated

“CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or

“HIGHLY CONFIDENTIAL – SOURCE CODE.”

       1.17     Receiving Party: a Party that receives Disclosures or Discovery Material from a

Producing Party.

2.     SCOPE

       This Protective Order shall apply to all Protected Material, regardless of the medium or

manner in which it is generated, stored, or maintained, that is produced, disclosed, or generated

either by a Party or Non-party in connection with discovery or Rule 26(a) disclosures in this action.

Moreover, this Protective Order shall apply to (i) any information copied or extracted from

Protected Material, (ii) any copies, excerpts, summaries, or compilations of Protected Material,




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and (iii) any testimony, conversations, or presentations by a Party or its Counsel that might reveal

information or items that have been designated in accordance with the procedures set forth herein.

        However, this Protective Order shall not apply to (i) any information or items that are in

the public domain at the time of receipt by the Receiving Party or that become part of the public

domain, after receipt by the Receiving Party, in a manner that does not violate this Protective

Order, including becoming part of the public domain through trial or otherwise, or (ii) any

information or items that are known to the Receiving Party prior to being designated with a

confidentiality designation for this action or that are obtained by the Receiving Party from a source

who lawfully obtained the information or items and who was under no obligation of confidentiality

to the Designating Party.

        Nothing in this Protective Order shall (i) affect the right of the Producing Party to disclose

or use its own Protected Material for any purpose or (ii) prevent or otherwise restrict Counsel from

rendering legal advice to their client and in the course thereof, relying on Protected Material,

provided, however, that in relying on such Protected Material, Counsel shall not disclose, reveal,

or describe the content of any Protected Material except insofar as allowed, if at all, under the

terms of this Protective Order.

        Counsel will work together to discuss how to handle Protected Material that is to be

presented at hearings or at trial.

3.      DURATION

        Even after Final Disposition of this Action, the confidentiality obligations imposed by this

Protective Order shall remain in effect until a Designating Party agrees otherwise in writing or a

court order otherwise directs.




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4.      DESIGNATING DISCLOSURES OR DISCOVERY MATERIAL

        4.1     Restraint and Care in Designating Disclosure or Discovery Material

        Each Party or Non-Party that designates Disclosures or Discovery Material for protection

under this Protective Order shall exercise restraint and take care to limit any designation to specific

information or items that qualify under the appropriate standards. Mass, indiscriminate, or

routinized designations are prohibited. Designations that are shown to be clearly unjustified or

that have been made for an improper purpose (e.g., to unnecessarily encumber or retard the case

development process or to impose unnecessary expenses and burdens on other Parties) expose the

Designating Party to sanctions.

        If it comes to a Designating Party’s attention that information or items that it designated

for protection do not qualify for protection at all or do not qualify for the level of protection initially

asserted, that Designating Party must promptly notify all other Parties in its respective action that

it is withdrawing the mistaken designation.

        4.2     Timing of Designations

        Except as otherwise provided herein, or stipulated to or ordered, each Party or Non-Party

shall designate Disclosures or Discovery Material for protection under this Protective Order before

the information or items are disclosed or produced. If it comes to a Designating Party’s attention

that information or items were not properly designated as Protected Materials, that Designating

Party must promptly notify all other Parties in its respective action that it is designating the

materials as Protected Materials pursuant to Paragraph 4.4 below.




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       4.3      Manner of Designating

               a.      Disclosures or Discovery Material in Documentary Form

       Disclosures or Discovery Material that is produced in documentary form (excluding

transcripts) shall be designated by labeling or marking each page of the document that contains

protectable material with the appropriate designation (i.e., “CONFIDENTIAL,” “HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL –

SOURCE CODE”).

               b.      Native Files

       Disclosures or Discovery Material that are produced in native electronic format shall be

designated by appending to the file names an indication of the appropriate designation or by

implementing any other reasonable method for designating materials produced in native electronic

format. If such Disclosures or Discovery Material are printed, such as for use at a deposition or in

a court proceeding, the party printing the materials shall label or mark each page of the printed

materials with the designation of the electronic file.

               c.      Depositions & Other Testimony

       Testimony given during a deposition or in other pretrial proceedings shall be initially

designated as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” until the expiration

of thirty (30) days after the Designating Party receives a transcript of the testimony (“thirty-day

period”), unless the testimony is otherwise designated at the time of the testimony or during the

thirty-day period.

       An entire transcript of testimony or pages thereof may be designated by an appropriate

statement either at the time the testimony is given or by notification within the thirty-day period.




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If the testimony is not designated at the time of testimony or during the thirty-day period, the

testimony shall no longer be considered Protected Material under this Protective Order.

       Transcripts containing pages designated with a confidentiality designation shall include an

obvious legend on the title page indicating that the transcript contains Protected Material (e.g.,

“This transcript contains HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

information”), and each transcript page containing Protected Material shall include a label or mark

indicating the appropriate designation.

               d.     Written Discovery

       Written discovery responses and information contained therein shall be designated by

means of a statement specifying the level of designation on the cover page of each response

document that contains Protected Material or any other means of identifying the designation level

of the responses and information contained therein. Moreover, the title page for such written

discovery responses shall also include an obvious legend indicating that the response contains

Protected Material.

               e.     Information or Items Made Available for Inspection

       Any information or items made available for inspection prior to producing copies of

selected information or items shall initially be designated “HIGHLY CONFIDENTIAL –

ATTORNEYS’ EYES ONLY,” unless otherwise designated at or before the time of inspection.

Thereafter, the Producing Party shall have a reasonable amount of time to review and designate

the selected information or items prior to producing copies to the Receiving Party.




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                f.         Information or Items Produced in Some Form Other than Documentary

        Disclosures or Discovery Material that are produced in some form other than documentary

shall be designated by affixing a legend with the appropriate designation in an obvious place on

the exterior of the container or the like in which protectable information is stored.

        4.4     Failure to Designate Properly

        If timely corrected, any information or items that are inadvertently produced or disclosed

without a designation or are inadvertently produced or disclosed under- or over-designated may

be corrected by the Producing Party providing written notice to counsel for the Receiving Party.

Within five (5) business days of such written notice, the Producing Party shall produce to the

Receiving Party replacement copies of the information or items with the proper designation.

        So long as the Producing Party provides the written notification within a reasonable amount

of time after becoming aware of the inadvertent failure to designate or under- or over-designation,

the failure to designate or under- or over-designation shall not, standing alone, waive the Producing

Party’s rights to secure protection for the affected information or items under this Protective Order.

After timely correction of a designation by the Producing Party, the Receiving Party shall make

reasonable efforts to afford the information or items the protections set forth herein.

5.      CHALLENGING CONFIDENTIALITY DESIGNATIONS

        5.1     Timing

        A Party may challenge a confidentiality designation at any time. Unless a prompt challenge

to a confidentiality designation is necessary to avoid a foreseeable, substantial, and unnecessary

burden on a Party or a significant disruption or delay in the litigation, a Party does not waive its

right to challenge a confidentiality designation by not challenging the designation promptly after

its original disclosure.




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       5.2     Manner of Challenging

               a.      Written Notice

       Any challenge to a confidentiality designation (i) shall be in writing, (ii) shall be served on

Counsel of the Designating Party, (iii) shall particularly identify the information or items

(including page numbers as appropriate) that the Challenging Party alleges should be differently

designated, (iv) shall describe the basis for each challenge, and (v) shall recite that the challenge

is being made in accordance with this specific paragraph of the Protective Order.

               b.      Meet and Confer

       Within seven (7) business days of service of the written notice, the Parties shall meet and

confer in an attempt to resolve each challenge in good faith. In conferring, the Challenging Party

must explain the basis for each challenge, and the Designating Party must (i) review the challenged

material, (ii) consider the basis for the challenge, and (iii) if no change in the challenged

designation is offered, explain the basis for the confidentiality designation. A Challenging Party

shall only proceed to Resolution by the Court if it has engaged in this meet and confer process or

establishes that the Designating Party is unwilling to timely participate in such process.

               c.      Resolution by the Court

       If the Parties cannot resolve a designation challenge, the Challenging Party may contact

the Court pursuant to the dispute procedures in Paragraph 4(f) (titled “Discovery Matters and

Disputes Relating to Protective Orders”) of the Scheduling Order to seek a ruling that the

Disclosure or Discovery Material in question is not entitled to the status of and protection

associated with the Designating Party’s designation. Initiation of the dispute procedures in

Paragraph 4(f) (titled “Discovery Matters and Disputes Relating to Protective Orders”) of the

Scheduling Order must be made within five (5) business days of the meet and confer. Each motion




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filed pursuant to this paragraph must be accompanied by a certification affirming that the

Challenging Party has complied with the requirements imposed in this Section. The Designating

Party shall bear the burden of persuasion regarding the propriety of any challenged designation.

6.       ACCESS TO DESIGNATED MATERIALS

         A Receiving Party shall have access to and may use Disclosures or Discovery Material that

is disclosed or produced by another Party or Non-Party only for purposes related to this action. To

the extent that Disclosures or Discovery Material is designated with a confidentiality designation,

such Protected Material may be disclosed only to the categories of persons and under the

conditions set forth below, unless otherwise ordered by the Court or agreed to by the Designating

Party.   After Final Disposition of this action, all Receiving Parties must comply with the

requirements of Section 14.

         6.1    CONFIDENTIAL

         A Receiving Party may disclose Protected Material designated as “CONFIDENTIAL” to

only the following:

                a.     the Receiving Party’s Outside Counsel of Record in this Action, employees

of such Outside Counsel to whom it is reasonably necessary to disclose, and any Professional

Vendors working at the direction of such Outside Counsel;

                b.     no more than five (5) officers, directors, or employees (including In-House

Counsel) of the Receiving Party to whom it is reasonably necessary to disclose, except that either

party may in good faith request the other party’s consent to designate one or more additional

representatives, the other party shall not unreasonably withhold such consent, and the requesting

party may seek leave of Court to designate such additional representative(s) if the requesting party




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believes the other party has unreasonably withheld such consent, provided that such individuals

agree to be bound by this Protective Order by signing a copy of Exhibit A;

               c.      any Expert of the Receiving Party to whom it is reasonably necessary to

disclose, provided that such Expert (i) agrees to be bound by this Protective Order by signing a

copy of Exhibit A, and (ii) complies with the procedures set forth below in Section 7;

               d.      the Court, court personnel, and jury;

               e.      court reporters, stenographers, or videographers, as well as their staff;

               f.      professional jury or trial consultants, their staff, and mock jurors to whom

it is reasonably necessary to disclose;

               g.      any mediator who is assigned to hear this matter, and his or her staff, subject

to their agreement to maintain confidentiality to the same degree as required by this Protective

Order; and

               h.      any individual who currently has or previously had access to the Protected

Material, including but not limited to any author, recipient, or custodian of the Protected Material

or any individual currently employed by the Designating Party.

       6.2     HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

       A Receiving Party may disclose Protected Material designated as “HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY” to only the following:

               a.      the Receiving Party’s Outside Counsel of Record in this action, employees

of such Outside Counsel to whom it is reasonably necessary to disclose, and any Professional

Vendors working at the direction of such Outside Counsel;




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               b.      any Expert of the Receiving Party to whom it is reasonably necessary to

disclose, provided that such Expert (i) agrees to be bound by this Protective Order by signing a

copy of Exhibit A, and (ii) complies with the procedures set forth below in Section 7;

               c.      the Court, court personnel, and jury;

               d.      court reporters, stenographers, or videographers, as well as their staff;

               e.      professional jury or trial consultants, their staff, and mock jurors to whom

it is reasonably necessary to disclose;

               f.      any mediator who is assigned to hear this matter, and his or her staff, subject

to their agreement to maintain confidentiality to the same degree as required by this Protective

Order; and

               g.      any individual who currently has or previously had access to the Protected

Material, including but not limited to any author, recipient, or custodian of the Protected Material

or any individual currently employed by the Designating Party.

       6.3     HIGHLY CONFIDENTIAL – SOURCE CODE

       Access to Protected Material designated as “HIGHLY CONFIDENTIAL – SOURCE

CODE” shall be governed by the procedures set forth below in Section 8. Any source code, which,

consistent with Section 1.9, means human-readable computer instructions expressed in a form

suitable for input to an assembler, compiler, or other data processing module in native format, shall

only be made available for inspection, not produced except as set forth in Section 8.

       A Receiving Party may disclose copies of Protected Material designated as “HIGHLY

CONFIDENTIAL – SOURCE CODE” to only the following:




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               a.      the Receiving Party’s Outside Counsel of Record in this action, employees

of such Outside Counsel to whom it is reasonably necessary to disclose, and any Professional

Vendors working at the direction of such Outside Counsel;

               b.      any Expert of the Receiving Party to whom it is reasonably necessary to

disclose, provided that such Expert (i) agrees to be bound by this Protective Order by signing a

copy of Exhibit A, and (ii) complies with the procedures set forth below in Section 7;

               c.      the Court, court personnel, and jury;

               d.      court reporters, stenographers, or videographers, as well as their staff;

               e.      any individual who currently has or previously had access to the Protected

Material, including but not limited to any author, recipient, or custodian of the Protected Material

or any individual currently employed by the Designating Party.

7.     ACCESS BY EXPERTS

       A Receiving Party that seeks to disclose Protected Material to an Expert shall provide the

Producing Party with written notice that includes:

       i.      the full name of the Expert and address of his or her primary residence and/or place

of business;

       ii.     an up-to-date curriculum vitae, including a list of all current and former employers

from the past ten (10) years and a list of all publications from the past ten (10) years;

       iii.    identification of (by name and number of the case and location of court, to the extent

possible) any litigation in which the Expert offered expert testimony in the past five (5) years; and

       iv.     identification of any current or former consulting engagements that the Expert has

had in the past (5) years.




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       The Designating Party shall have up to five (5) business days after receipt of such written

notice to object in writing to the Receiving Party’s Outside Counsel. A Receiving Party that makes

a request and provides the information specified in the preceding paragraphs shall not disclose the

subject Protected Material to the identified Expert until expiration of the notice period. Any

objection by the Designating Party shall be for good cause and shall set forth in detail the grounds

on which it is based. If during the notice period the Designating Party serves such an objection,

there shall be no disclosure of the Protected Material until the objection is resolved.

       If an objection is made, the Parties shall meet and confer within three (3) business days to

attempt in good faith to resolve the dispute. If the dispute is not resolved, the Designating Party

will have five (5) business days from the date of the meet and confer to initiate the dispute

procedures in Paragraph 4(f) (titled “Discovery Matters and Disputes Relating to Protective

Orders”) of the Scheduling Order. Any motion filed pursuant to this Section must describe the

circumstances with specificity and set forth in detail the reasons why disclosure to the Expert

should not be made.

8.     SOURCE CODE

       The parties have several disputes relating to source code inspection and source code

printouts. Once such disputes are resolved by the Court, an addendum relating to source code

inspection and source code printouts shall be attached to this Protective Order.

9.     OTHER PROCEEDINGS

       By entering this order and limiting the disclosure of information in this case, the Court does

not intend to preclude another court from finding that information may be relevant and subject to

disclosure in another case. Any person or party subject to this order who becomes subject to a

motion to disclose another party’s information designated as confidential pursuant to this order




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shall promptly notify that party of the motion so that the party may have an opportunity to appear

and be heard on whether that information should be disclosed.

10.    NON-PARTY MATERIALS

       The provisions of this Protective Order are applicable to all materials produced by a

Non-Party in this action. As such, the remedies and relief provided herein protect all materials

produced by Non-Parties in this action. However, nothing in this provision should be construed

as prohibiting a Non-Party from seeking additional protections.

11.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

       If a Receiving Party learns that it has disclosed, inadvertently or otherwise, Protected

Material to any person or in any circumstances not authorized under this Protective Order, the

Receiving Party shall (i) immediately notify the Designating Party in writing of all the pertinent

facts, (ii) make every effort to prevent further unauthorized disclosure including retrieving all

copies of the Protected Material from any recipients, (iii) inform the recipients of all terms of this

Protective Order, and (iv) request that such recipients agree to be bound by this Protective Order

by signing a copy of Exhibit A.

12.    INADVERTENT PRODUCTION OF PRIVILEGED MATERIAL

       Pursuant to Federal Rule of Evidence 502, the inadvertent production of any Disclosures

or Discovery Material subject to the attorney-client privilege, work-product immunity, and/or

other privilege or immunity shall not waive any such privilege or immunity, provided that (i) the

Producing Party took reasonable efforts to prescreen such Disclosures or Discovery Material prior

to the inadvertent production, and (ii) after the Producing Party becomes aware of the inadvertent

production, the Producing Party promptly sends to each Receiving Party a written request for

return of the inadvertently produced Disclosure or Discovery Material.




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       Within ten (10) business days of receiving such a request, a Receiving Party shall return to

the Producing Party, or certify the destruction of, all Disclosures or Discovery Material identified

by the Producing Party as being protected by a privilege and/or immunity and inadvertently

produced. A Receiving Party shall not utilize or disseminate the information contained in the

inadvertently produced Disclosure or Discovery Material for any purpose, except for contesting

the claimed privilege or immunity.

       If the Receiving Party wishes to contest the claimed privilege or immunity, the Receiving

Party shall provide written notice thereof to the Producing Party. The Receiving Party may retain

one (1) copy of each Disclosure or Discovery Material at issue, but any such retained copies shall

be sequestered and shall not be used for any purpose except to meet and confer with the Producing

Party regarding the claimed privilege or immunity and/or to present information to the Court for a

determination regarding the claimed privilege or immunity.

13.    PATENT PROSECUTION BAR

       No attorney, patent agent, expert, or consultant who is currently participating in or

providing consultation regarding the prosecution of any patent or patent application for the

Receiving Party may review or otherwise have access to HIGHLY CONFIDENTIAL –

ATTORNEYS’ EYES ONLY or HIGHLY CONFIDENTIAL – SOURCE CODE information

of the Producing Party.

       Any individual who has reviewed any HIGHLY CONFIDENTIAL – ATTORNEYS’

EYES ONLY or HIGHLY CONFIDENTIAL – SOURCE CODE information of the Producing

Party shall not engage in the prosecution of patents or patent applications relating to (a) networked

media playback devices or technologies for controlling such devices or (b) information relating to

networked media playback devices or technologies for controlling such devices disclosed in the




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Producing Party’s confidential information, including without limitation the patents asserted in

this action and any patent or application claiming priority to or otherwise related to the patents

asserted in this action, on behalf of the Receiving Party during the pendency of this action and

within one year after the earlier of either the date on which the individual withdraws

Acknowledgement to be bound by the Protective Order or the final conclusion of this action

(including any appeals).

       For purposes of this section, “prosecution” shall include any activity related to (i) the

preparation or prosecution (for any person or entity) of patent applications, including among others

reexamination and reissue applications or (ii) directly or indirectly participating, drafting,

amending, advising, or otherwise affecting the scope or maintenance of patent claims.1 Nothing

in this section shall prevent any Outside Counsel of Record from sending non-confidential prior

art to an attorney involved in patent prosecution for purposes of ensuring that such prior art is

submitted to the U.S. Patent and Trademark Office (or any similar agency of a foreign government)

to assist a patent applicant in complying with its duty of candor.

       To avoid any doubt, “prosecution” as used in this section does not include representing a

party challenging or defending a patent before a domestic or foreign agency (including, but not

limited to, a reissue protest, ex parte reexamination, inter partes reexamination, inter partes

review, post grant review or covered business method review), provided that there is no

participation or assistance with any claim drafting or amendment of claims in such proceedings.

       This Patent Prosecution Bar shall apply on an individual basis and not to a law firm or to

an entity such individual is associated with or the other individuals associated with the law firm or




1
  Prosecution includes, for example, original prosecution, reissue, inter partes review, post grant
review, covered business method review and reexamination proceedings.


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entity.

14.       MISCELLANEOUS

          14.1    Right to Further Relief

          Nothing in this Protective Order abridges the right of any Party or person to seek its

modification by the Court in the future.

          14.2    Right to Assert Other Objections

          By stipulating to this Protective Order, the Parties do not waive the right to argue that

certain Disclosure or Discovery Material may require additional or different protections than those

set forth herein. Similarly, the Parties do not waive any right to object to another Party’s use in

evidence of any of the Disclosure or Discovery Material covered by this Protective Order.

          14.3    Filing Under Seal

          A Party seeking to file under seal any Protected Material must comply with D. Del. LR

5.1.3, CM/ECF Procedures, and Section 5 of the Scheduling Order. Where reasonably practicable,

only the portions of documents containing Protected Material shall be filed under seal.

          14.4    No Agreement Concerning Discoverability

          The identification or agreed upon treatment of certain type of Disclosures and Discovery

Material does not reflect agreement by the Parties that the disclosure of such categories of

Disclosures and Discovery Material is required or appropriate in this action. The Parties reserve

the right to argue that any particular category of Disclosures and Discovery Material should not be

produced.

15.       FINAL DISPOSITION

          Within sixty (60) days after the Final Disposition of this action, each Receiving Party shall

return all Protected Material to the Producing Party or destroy such material. As used in this




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Section, “all Protected Material” includes copies, abstracts, compilations, summaries, and any

other format that reproduces or captures any Protected Material. Whether the Protected Material

is returned or destroyed, the Receiving Party shall submit a written certification to the Producing

Party by the 90-day deadline confirming the return or destruction of all the Producing Party’s

Protected Material.

       Notwithstanding this Section, Outside Counsel of a Receiving Party may retain an archival

copy of all pleadings, motion papers, trial, deposition, and hearing transcripts, legal memoranda,

correspondence, communications, deposition and trial exhibits, expert reports, attorney work

product, and consultant and expert work product, even if such materials contain Protected Material.

However, Outside Counsel of a Receiving Party may not retain an archival copy that contains a

copy of the Producing Party’s source code unless the copy of source code is removed from the

archival copy. Any such archival copies that contain or constitute Protected Material shall remain

subject to this Protective Order as set forth in Section 3.

       To the extent that the duties imposed on a Receiving Party by this Section conflict with the

Receiving Party’s obligations in another action, the Receiving Party may forgo returning and

destroying Protected Material and shall seek guidance of this Court within a reasonable amount of

time of becoming aware of the conflict.



SO ORDERED this ___ day of ___________, 2024.



                                                       ______________________________
                                                       United States District Court Judge




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                                           EXHIBIT A

                ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND



       I, ______________________________ declare that:

       1.      My present residential address is

______________________________________________________________;

       2.      My current employer is ____________________________________;

       3.      My current occupation is ___________________________________;

       4.      I have read in its entirety and understand the Protective Order that was issued by

the United States District Court for the District of Delaware on __/___/___ in the case of Sonos,

Inc. v. Linkplay Technology Inc. and Linkplay Technology, Inc., Nanjing, Civil Action No. 24-

131-JNR;

       5.      I agree to comply with and be bound by all the provisions of the Protective Order;

       6.      I understand and acknowledge that failure to so comply could expose me to

sanctions and punishment in the nature of contempt.

       7.      I will not disclose any information that is subject to the Protective Order in any

manner that is contrary to the provisions of the Protective Order; and

       8.      I agree to submit to the jurisdiction of the United States District Court for the

District of Delaware for the purpose of enforcing the terms of the Protective Order.




Signature:_____________________________                      Date: ___________________
